The organization, jurisdiction, powers, duties and methods of administration and procedure of counties were declared in an "Act to revise the law in relation to counties," which was passed and became effective on March 31, 1874. It constitutes the first sixty-three sections of chapter 34 of the Revised Statutes of 1874. Section 25 enumerated the powers of the county board, and by its sixth clause conferred on it the power "to cause to be annually levied and collected taxes for county purposes, including all purposes for which money may be raised by the county by taxation, not exceeding seventy-five cents on the $100 valuation, and in addition thereto an annual tax not exceeding one hundred cents on the $100, for the purpose of paying the interest and principal of indebtedness which existed at the time of the adoption of the constitution." Section 34 had nothing to do with the levy of taxes but was the same, in substance, as the first sentence of the section as it now is. It merely provided that "execution shall not, in any case, issue against the lands or other property of a county; but when judgment is rendered against a county, the county board shall direct an order to be drawn on the county treasurer for the amount of the judgment and costs — which orders shall be paid as other county debts." This was the whole section as originally enacted. It was amended in 1905 by the addition of paragraphs (a) and (b) as they now appear, as follows:
"(a) Whenever the county board in any county shall in any year determine the amount of all taxes to be raised for county purposes, such board shall include among the purposes for which such taxes are to be raised the payment of any outstanding judgment or judgments against such county for the payment of which no other provisions has (have) been made.
"(b) The county board may provide for the payment of any such judgment or judgments and the interest thereon in equal annual installments, not exceeding however ten (10) *Page 224 
in number, and may include one of such installments in the amount of taxes to be raised for county purposes in each year, but the aggregate amount of all taxes to be raised for county purposes shall not in any year exceed the rate of seventy-five (75) cents on the one hundred dollars ($100) valuation of property unless authorized by a vote of the people of the county."
This section has not since been amended. The effect of the amendment was by paragraph (a) to make it mandatory on the county board each year, when determining the amount of all taxes to be raised for county purposes, to include among the purposes for which such taxes shall be raised the payment of all judgments against the county for whose payment no other provision shall have been made. By paragraph (b), however, discretion was given to the county board, instead of levying the whole amount of all the unpaid judgments against the county in one amount, to provide for their payment in equal annual installments, not exceeding ten in number, and to include one of such installments in the amount of taxes to be raised for county purposes in each year, but the aggregate amount of all taxes to be raised for county purposes should not in any year exceed the rate of seventy-five cents on the $100 valuation unless authorized by a vote of the people of the county.
The rate of seventy-five cents on the $100 was the limit imposed by the constitution upon taxation by county authorities unless authorized by a vote of the people, and was, of course, binding, whether expressed in the law or not. Section 25 was a general law, which empowered the county board to levy taxes every year for all county purposes. Section 34 was a law concerning a special subject which required the county board to levy taxes each year for the payment of all judgments against the county. The county board had the power, by virtue of section 25, to levy a tax to pay judgments against the county. Section 34 imposed the mandatory duty on the county to levy each year taxes *Page 225 
for the payment of all judgments against the county, limited only by the restriction that all taxes levied for all county purposes could not exceed seventy-five cents on the $100. Section 25 said to the county board, You may levy taxes annually for all county purposes within the limit of seventy-five cents on the $100; and section 34 said, You must levy taxes for the payment of all judgments against the county for the payment of which no other provisions have been made, provided that the levy for all county purposes, including judgments, shall not exceed seventy-five cents on the $100.
So the law remained after the amendment of section 34 in 1905 until 1919, when section 25 was amended by reducing the amount which clause 6 authorized to be levied, from seventy-five cents to fifty cents on the $100, and the additional amount for the payment of interest and principal of indebtedness which existed at the time of the adoption of the constitution, from one hundred cents to sixty-six and two-thirds cents on the $100. (Laws of 1919, p. 740.) Later, section 25 was further amended by further reducing the rate of fifty cents to twenty-five cents on the $100. Laws of 1927, p. 383.
It is a maxim in the construction of statutes that where two acts are seemingly repugnant, they should be so construed, if possible, that the later one may not operate as a repeal of the former by implication, and in all such cases, if a construction can reasonably be given by which both acts will stand it will be adopted. (City of Rockford v. Schultz, 296 Ill. 254; People
v. Wabash Railroad Co. 276 id. 92.) Section 2 of the act to revise the law in relation to the construction of statutes (Cahill's Stat. 1931, p. 2637; Smith's Stat. 1931, p. 2838;) reads: "The provisions of any statute, so far as they are the same as those of any prior statute, shall be construed as a continuation of such prior provision, and not as a new enactment." When the General Assembly amends a statute and no change is made *Page 226 
in parts of it, the portions repeated, either literally or substantially, are regarded as a continuation of the existing law and not as the enactment of a new law upon the subject. (People v. New York, Chicago and St. Louis Railroad Co.316 Ill. 452; People v. Lloyd, 304 id. 23; Svenson v.Hanson, 289 id. 242; City of Altamont v. Baltimore and OhioRailroad Co. 348 id. 339.) When there are two provisions, one of which is general and designed to apply to cases in general, and another is particular and relates only to one subject, the particular provision must prevail and must be treated as an exception to the general provisions. Dahnke v. People, 168 Ill. 102;  Natural Products Co. v. DuPage County, 314 id. 74.
The amendments to section 25 of the act in relation to counties made in 1919 and 1927 were not the enactment of new laws upon the subject of the levy of county taxes but were continuations of the existing law upon the subject with the respective amendments added. The existing law before the passage of those amendments, by the general provisions of clause 6 of section 25 limited the amount of the levy of county taxes in general cases to seventy-five cents on $100, and the special provisions of section 34 required the amount of the levy for the payment of judgments to be the full amount of all the judgments against the county, provided the levy for all county purposes should not exceed seventy-five cents on $100. Sections 25 and 34 are parts of the same statute, and when the General Assembly amended the general provisions of section 25 it saw fit to leave section 34 unchanged. Construing the general provisions of section 25 together with the special provisions of section 34, it is manifest that section 25 as amended should be held to limit the levy for general county purposes to twenty-five cents on the $100 but not to affect the special and particular provisions of section 34 which limit the amount of the levy for taxes to pay judgments against the county only by the provision that the county tax for all purposes, including the *Page 227 
payment of judgments, shall not exceed seventy-five cents on the $100. The reduction of the rate by the amendments of 1919 and 1927 had no effect upon the special command to the county board contained in section 34 to levy the tax for the payment of all judgments within the limitation specified in that section. The rate levied for general county purposes under section 25 was twenty-five cents on the $100 valuation, and the rate levied under section 34 for the payment of a judgment rendered against the county was twenty-one cents on the $100 valuation. The two amounted to only forty-six cents on the $100, and were therefore within the constitutional limitation of seventy-five cents on the $100, which was the limit under section 34.
The objection of the plaintiff in error was properly overruled, and the judgment of the county court should be affirmed.
Mr. JUSTICE DEYOUNG concurs in this dissenting opinion.